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9
                                UNITED STATES DISTRICT COURT
10
                                     DISTRICT OF NEVADA
11
     RONNIE MONEY COLEMAN,                         Case No. 3:19-cv-00172-RCJ-WGC
12
                      Petitioner,                  ORDER GRANTING
13                                                 STIPULATION TO ALLOW
           v.
                                                   PETITIONER THE
14
     WILLIAM GITTERE, ET AL.,                      OPPORTUNITY TO FILE A
15                                                 MOTION FOR LEAVE TO
                      Respondents.                 AMEND THE PETITION AND TO
16                                                 EXTEND TIME FOR
                                                   RESPONDENTS TO RESPOND
17
                                                   TO PETITION (ECF No. 29)
18

19         Petitioner Ronnie Coleman and Respondents William Gittere, et al.,

20   (collectively the “Parties”), by and through their respective counsel of record, hereby

21   stipulate and agree as follows:

22         1. Petitioner Coleman filed his First Amended Petition on May 28, 2020. ECF

23              No. 23. The undersigned counsel filed a notice of appearance on behalf of

24              Mr. Coleman on May 29, 2020. ECF No. 24. Currently, Respondents have

25              until October 26, 2020, to respond to the First Amended Petition. ECF No.

26              28.
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1          2. Mr. Coleman shall have until November 25, 2020, to seek leave of court to
2             file a second amended petition.
3          3. Respondents’ deadline to respond to petition shall be extended to 45 days
4             after the date on which the court decides upon the motion for leave to file a
5             second amended petition.
6          4. This is the parties’ first stipulation to extend time. Respondents previously
7             filed two requests for enlargement of time to file a response to Mr.
8             Coleman’s first amended petition. ECF Nos. 25, 27.
9          5. This stipulation is not made for purposes of delay but is agreed to in the
10            interests of justice.
11

12         Respectfully submitted October 21, 2020.
13

14   Rene L. Valladares                             Aaron D. Ford
     Federal Public Defender                        Nevada Attorney General
15

16
     /s/ Alicia R. Intriago                         /s/ Gerri L. Hardcastle
17   Alicia R. Intriago                             Gerri Lynn Hardcastle
     Attorney for Petitioner                        Attorney for Respondents
18
19

20
                                                    IT   IS S O O RD ER E D :
21

22                                                  ______________________________
                                                    ROBERT C. JONES
23                                                   United States District Judge
24
                                                    Dated: October 21, 2020.
25

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